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EXHIBIT C

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R10 (Official Form 10) (12/08)

Page 2 of 4

UNITED STATES BANKRUPTCY COURT DISTRICT OF DELAWARE

PROOF OF CLAIM

Name of Debtor:
NORTEL NETWORKS INC.

Case Number:
09-10138

NOTE: This form should not be used to make a claim for an administrative expense arising after the commencement of the case. A réquest of payment ofan

administrative expense may be filed pursuant to 11 U.S.C. § 503.

Name of Creditor (The person or other cntity to whom the debtor owcs moncy or property):
Department of the Treasury - Internal Revenue Service

Name and address where notices should be sent:
Internal Revenue Service
P.O. Box 21126
Philadelphia, PA 19114

Telephone number: 1-800-913-9358 Creditor Number:

M Check this box to indicate that this
claim amends a previously filed
claim.

Court Claim Number:
(If known)

Filed on: 02/11/2009

Name and address where payments should be sent (if different from above):
_ Internal Revenue Service

1352 MARROWS ROAD, STE 204

NEWARK, DE 19711-5445

Telephone Number: (302) 286-1559

7_oO

O Check this box if you arc aware that
anyone elsc has filed a proof of claim
relating to your claim. Attach copy of
statement giving particulars.

Check this box if you are the debtor
or trustee in this casc.

1. Amount of Claim as of Date Case Filed: $.3,016,650,830.82

If all or part of your claim is secured, complete item 4 below; however, if all of your claim is unsccured, do not complete
item 4,

If all or part of your claim is entitled to priority, complete item 5.

@ Check this box if claim includes interest or other charges in addition to the principal amount of claim. Attach
itemized statement of interest or charges.

2. Basis for Claim: Taxcs

(Sce instruction #2 on reverse side.)

3. Last four digits of any number by which creditor identifies debt See Attachment

3a. Debtor may have scheduled account as:
(Sce instruction #3a on reverse side.)

4. Secured Claim (Sce instruction #4 on reverse side.) _
Check the appropriate box if your claim is sccured by a lien on property or a right of sctoff and provide the
requested information.

Nature of property or right of setoff: OReal Estate C Motor Vehicle OD Other
Describe:
Value of Property: Annual Interest Rate %

Amount of arrearage and other charges as of time case filed included in secured claim,

if any: $_ Basis for perfection:

Amount of Secured Claim: $ Amount Unsecured: §

5. Amount of Claim Entitled to
Priority under 11 U.S.C. §507(a). If
any portion of your claim falls in
one of the following categories,
check the box and state the
amount.

Specify the priority of the claim.

D Domestic support obligations under
11 U.S.C. §507(a)(1)(A) or (a)(1)(B).

C Wages, salaries, or commissions (up
to $10,950*) earncd within 180 days
before filing of the bankruptcy
petition or cessation of the debtor's
business, whichever is carlier - 11
U.S.C. §507 (a)(4).

OD Contributions to an employce benefit
plan -11 U.S.C. §507 (a)(5).

0) Up to $2,425* of deposits toward
purchase, case, or rental of property
or services for personal, family, or
houschold use - 11 U.S.C. §507

(a7).

@ Taxes or penalties owed to
governmental units - 11 U.S.C. §507

(a)(8).

6, Credits: The amount of all payments on this claim has been credited for the purpose of making this proof of claim.
7. Documents: Attach redact-* ~-~*-- °°
purchase orders, invoiccs, it
agreements. You may also a.
perfection of a sccurity inter - -
reverse side.) ~
DO NOT SEND ORIGINA
SCANNING.

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nortgages, and security
ng evidence of

finition of "redacted" on

: Fle: ‘USBC-- District of Delaware
“Nortel Networks Inc., Et Al.

_ 08-40138 (KG}
If the documents arc not avanapie, picase explain: ~

- 9000001935

ESTROYED AFTER

O Other - Specify applicable paragraph
of 11 U.S.C. §507 (a)(__).

Amount entitled to priority:

$ 2,967,386,218.82

*Amounts are subject to adjustment on
4/1/10 and every 3 years thereafter with
respect to cases commenced on or after

the date of adjustment.

Signature: Thc person filing this claim must sign it. Sign and print name and title, if any, of the
creditor or other person authorized to file this claim and state address and telephone number if
different from the notice address above. Attach copy of power of attorcy, if any.

Date: 08/18/2009

is! M. JAMES,
REVENUE OFFICER/ADVISOR
(302) 286-1559

Intermal Revenuc Service
1352 MARROWS ROAD, STE 204
NEWARK, DE 19711-5445

Penalty for presenting fraudulent claim: Finc of up to $500,000 or imprisonment for up to 5 ycars, or both.

TEU RCRD ane

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Proof of Claim for
Internal Revenue Taxes

Form 10
Attachment

Department of the Treasury/Internal Revenue Service Case Number
In the Matter of: NORTEL NETWORKS INC. 09-10138
2221 LAKESIDE BOULEVARD Type of Bankruptcy Case
RICHARDSON, TX 75082 CHAPTER 11
Date of Petition
. _ 01/14/2009
Amendment No. | to Proof of Claim dated 02/11/2009. ,

The United States has not identified a right of setoff or counterclaim. However, this determination is based on available data and is not
intended to waive any right to setoff against this claim debts owed to this debtor by this or any other federal agency. All rights of setoff
are preserved and will be asserted to the extent lawful.

Unsecured Priority Claims under scction 507(a)(8) of the Bankruptcy Code

Taxpayer Interest to

ID Number Kind of Tax Tax Period Date Tax Assessed Tax Due Petition Date
XX-XXX6332 CORP-INC 12/31/1998 7 Pending Examination $379,232,841.00 $381,443,153.08
XX-XXX6332.  CORP-INC 12/31/1999 1 Pending Examination $269,847,546.00 $225,240,882.06
XX-XXX6332 CORP-INC 12/31/2000 1 Pending Examination $163,600,825.00 $131,915,859.74
XX-XXX6332  CORP-INC 12/31/2001 7 Pending Examination $5,000.00 $0.00
XX-XXX6332.  CORP-INC 12/3 1/2002 7 Pending Examination $5,000.00 $0.00
XX-XXX6332  CORP-INC 12/31/2003 1 Pending Examination $438,470,65 1.00 $226,245, 167.63
XX-XXX6332 CORP-INC 12/3 1/2004 1 Pending Examination $209,405,631.00 $89,653,639,33
XX-XXX6332 CORP-INC 12/31/2005 7 Pending Examination $344,065,092.00 $108,249,930.98
XX-XXKX6332 CORP-INC 12/31/2007 7 Pending Examination $5,000.00 $0.00
XX-XXX6332. WT-FICA 12/3 1/2008 2  Unassessed-No Retum $0.00 $0.00

$1, 162,748,632.82

$1,804,637,586.00

Total Amount of Unsecured Priority Claims: |

Unsecured General Claims

Penalty to date of petition on unsecured priority claims (including interest thereon) ...... $49,264,612.00

Total Amount of Unsecured General Claims:

1 PROPOSED TAX DEFICIENCY DETERMINED BY EXAMINATION OF DEBTOR(S) TAX RETURN.
2 UNASSESSED TAX LIABILITV(IES) HAVE BEEN LISTED ON THIS CLAIM BECAUSE OUR RECORDS SHOW NO RETURN(S) FILED, WHEN THE DEBTOR(S) FILES THE RETURN OR PROVIDES OTHER INFORMATION
S RE F EC ENDE|

Page | of I
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Case 09

